  Case 1:19-cv-01830-MN Document 19 Filed 01/04/21 Page 1 of 5 PageID #: 246




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

LAUREN WILLIAMS, derivatively on behalf
of CORCEPT THERAPEUTICS
INCORPORATED.,

                       Plaintiff,

       v.

G. LEONARD BAKER, JOSEPH K.
BELANOFF, DANIEL M. BRADBURY,
RENEÉ D. GALÁ, SEAN MADUCK,
DAVID L. MAHONEY, CHARLES ROBB,
DANIEL N. SWISHER, and JAMES N.
                                                     Civil Action No. 1:19-cv-01830-MN
WILSON,

                       Defendants,

       -and-

CORCEPT THERAPEUTICS
INCORPORATED,

                       Nominal Defendant.



       JOINT STIPULATION AND ORDER FURTHER STAYING THE ACTION
      PENDING RESOLUTION IN THE RELATED SECURITIES CLASS ACTION

       The parties in the above-captioned matter, by and through their counsel of record, hereby

stipulate to the following:

       WHEREAS, on September 30, 2019, Lauren Williams (“Plaintiff”) filed a Verified

Stockholder Derivative Complaint (the “Derivative Action”) in this Court against certain

directors and officers of Corcept Therapeutics Incorporated (“Corcept” and with the defendant

officers and directors, the “Defendants”);

       WHEREAS, on March 14, 2019, a plaintiff, suing on behalf of a purported class, filed a

lawsuit in the United States District Court for the Northern District of California captioned
  Case 1:19-cv-01830-MN Document 19 Filed 01/04/21 Page 2 of 5 PageID #: 247




Melucci v. Corcept Therapeutics Inc., et al., No. 5:19-cv-01372 (the “Federal Securities Class

Action”), alleging violations of the federal securities laws against Corcept and certain of its

officers and directors;

       WHEREAS, the Defendants and Plaintiff (the “Parties”) agreed that the Derivative

Action involves the same subject matter, parties, factual allegations, and legal issues as the

Federal Securities Class Action (which also includes additional factual and legal issues), and

entered a stipulation to stay this Action pending the resolution of the Federal Securities Class

Action;

       WHEREAS, on October 23, 2019, this Court so-ordered the parties’ Joint Stipulation and

Order Staying the Action Pending Resolution in the Federal Securities Class Action (ECF No.

13);

       WHEREAS, on November 20, 2020, the United States District Court for the Northern

District of California dismissed the Federal Securities Class Action with leave to amend;

       WHEREAS, on December 21, 2020, plaintiff filed an amended complaint in the Federal

Securities Class Action, and the Federal Securities Class Action remains pending;

       WHEREAS, the Parties agree that the interests of preserving the Parties’ and the Court’s

resources, efficient and effective case management would best be served by staying the

Derivative Action until the United States District Court for the Northern District of California

enters an order resolving the defendants’ forthcoming motion to dismiss the Federal Securities

Class Action but wish to reserve their rights to seek a stay beyond that point;

       NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the undersigned

counsel for the Parties, subject to the approval of the Court, as follows:




                                                  2
Case 1:19-cv-01830-MN Document 19 Filed 01/04/21 Page 3 of 5 PageID #: 248




       1. The Derivative Action, including all hearings, deadlines, and discovery, shall be

          stayed pending the resolution of the forthcoming motion to dismiss in the Federal

          Securities Class Action or until otherwise agreed to by the Parties. Within thirty-

          five (35) days of the ruling on defendants’ motion to dismiss the Federal

          Securities Class Action, the Parties shall meet and confer concerning a schedule

          for further proceedings in the Derivative Action, including whether a further stay

          of this action is appropriate, and advise the Court accordingly. If the Parties are

          unable to agree on whether a continued stay of this action is appropriate, the

          Parties will submit a schedule for briefing on a motion to continue the stay. This

          action shall remain stayed until the Parties agree that a stay is no longer warranted

          or the Court’s ruling on a motion to continue the stay.

       2. The stay of this action is subject to each Party’s right (i) to move the Court to lift

          the stay and (ii) to oppose such motion. Prior to any such motion to lift, the Party

          seeking to lift the stay shall give notice of at least forty-five calendar days, during

          which times the Parties will meet and confer in an effort to resolve any dispute

          about the continuance of the stay.

       3. Defendants shall be under no obligation to respond to the complaint while the

          Derivative Action is stayed.

       4. Notwithstanding the stay of the Derivative Action, Plaintiff may file an amended

          complaint during the pendency of the stay.          Defendants shall be under no

          obligation to respond to any such complaint while the Derivative Action is stayed,

          unless otherwise ordered by the Court.




                                             3
 Case 1:19-cv-01830-MN Document 19 Filed 01/04/21 Page 4 of 5 PageID #: 249




          5. Nothing herein shall be construed as a waiver of any Party’s rights of positions in

             law or in equity, or as a waiver of any defenses that any Party would otherwise

             have, and the Parties reserve all such rights.

SO STIPULATED AND AGREED by and between the parties this 29th day of December, 2020.


OF COUNSEL:

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                                               4
 Case 1:19-cv-01830-MN Document 19 Filed 01/04/21 Page 5 of 5 PageID #: 250




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SO ORDERED, this ____   -DQXDU\ 
                           of _______________,   20_____




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                                                he Hono
                                                   Honorable
                                                      n rable Maryellen Noreika
                                               United States District Judge




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